Case 1:25-cv-00163-DAE   Document 21-1   Filed 04/25/25   Page 1 of 7




                  EXHIBIT 1
      Case 1:25-cv-00163-DAE                                 Document 21-1                     Filed 04/25/25    Page 2 of 7

             S T A T E O F C A LIF O R N IA | Business, Consumer Services and Housing Agency                               GAVIN NEWSOM, GOVERNOR

                                                                                                                               KEVIN KISH, DIRECTOR
             Civil Rights Department
             651 Bannon Street, Suite 200 | Sacramento | CA | 95811
             1-800-884-1684 (voice) | 1-800-700-2320 (TTY) | California’s Relay Service at 711
             calcivilrights.ca.gov | contact.center@calcivilrights.ca.gov




December 20, 2024


Esra Hudson
,

RE:    Notice to Complainant’s Attorney
       CRD Matter Number:
       Right to Sue: Lively / Wayfarer Studios LLC et al.

Dear Esra Hudson:

Attached is a copy of your complaint of discrimination filed with the Civil Rights
Department (CRD) pursuant to the California Fair Employment and Housing Act,
Government Code section 12900 et seq. Also attached is a copy of your Notice of Case
Closure and Right to Sue.

Pursuant to Government Code section 12962, CRD will not serve these
documents on the employer. You must serve the complaint separately, to all named
respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
information regarding filing a private lawsuit in the State of California. A courtesy "Notice
of Filing of Discrimination Complaint" is attached for your convenience.

Be advised that the CRD does not review or edit the complaint form to ensure that it
meets procedural or statutory requirements.

Sincerely,

Civil Rights Department




                                                                                                        CRD - ENF 80 RS (Revised 2024/05)
      Case 1:25-cv-00163-DAE                                 Document 21-1                     Filed 04/25/25    Page 3 of 7

             S T A T E O F C A LIF O R N IA | Business, Consumer Services and Housing Agency                               GAVIN NEWSOM, GOVERNOR

                                                                                                                               KEVIN KISH, DIRECTOR
             Civil Rights Department
             651 Bannon Street, Suite 200 | Sacramento | CA | 95811
             1-800-884-1684 (voice) | 1-800-700-2320 (TTY) | California’s Relay Service at 711
             calcivilrights.ca.gov | contact.center@calcivilrights.ca.gov




December 20, 2024

RE:    Notice of Filing of Discrimination Complaint
       CRD Matter Number:
       Right to Sue: Lively / Wayfarer Studios LLC et al.

To All Respondent(s):

Enclosed is a copy of a complaint of discrimination that has been filed with the Civil
Rights Department (CRD) in accordance with Government Code section 12960. This
constitutes service of the complaint pursuant to Government Code section 12962. The
complainant has requested an authorization to file a lawsuit. A copy of the Notice of
Case Closure and Right to Sue is enclosed for your records.

Please refer to the attached complaint for a list of all respondent(s) and their
contact information.

No response to CRD is requested or required.

Sincerely,

Civil Rights Department




                                                                                                        CRD - ENF 80 RS (Revised 2024/05)
      Case 1:25-cv-00163-DAE                                 Document 21-1                     Filed 04/25/25    Page 4 of 7

             S T A T E O F C A LIF O R N IA | Business, Consumer Services and Housing Agency                               GAVIN NEWSOM, GOVERNOR

                                                                                                                               KEVIN KISH, DIRECTOR
             Civil Rights Department
             651 Bannon Street, Suite 200 | Sacramento | CA | 95811
             1-800-884-1684 (voice) | 1-800-700-2320 (TTY) | California’s Relay Service at 711
             calcivilrights.ca.gov | contact.center@calcivilrights.ca.gov




December 20, 2024

Blake Lively
,

RE:    Notice of Case Closure and Right to Sue
       CRD Matter Number:
       Right to Sue: Lively / Wayfarer Studios LLC et al.

Dear Blake Lively:

This letter informs you that the above-referenced complaint filed with the Civil Rights
Department (CRD) has been closed effective December 20, 2024 because an
immediate Right to Sue notice was requested.

This letter is also your Right to Sue notice. According to Government Code section
12965, subdivision (b), a civil action may be brought under the provisions of the Fair
Employment and Housing Act against the person, employer, labor organization or
employment agency named in the above-referenced complaint. The civil action must be
filed within one year from the date of this letter.

To obtain a federal Right to Sue notice, you must contact the U.S. Equal
Employment Opportunity Commission (EEOC) to file a complaint within 30 days
of receipt of this CRD Notice of Case Closure or within 300 days of the alleged
discriminatory act, whichever is earlier.

Sincerely,


Civil Rights Department




                                                                                                        CRD - ENF 80 RS (Revised 2024/05)
           Case 1:25-cv-00163-DAE           Document 21-1     Filed 04/25/25    Page 5 of 7




 1                       COMPLAINT OF EMPLOYMENT DISCRIMINATION
                             BEFORE THE STATE OF CALIFORNIA
 2                                        Civil Rights Department
                       Under the California Fair Employment and Housing Act
 3
                                    (Gov. Code, § 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    Blake Lively                                                   CRD No.

 6                                    Complainant,
     vs.
 7
      Wayfarer Studios LLC
 8
      ,
 9
      Justin Baldoni
10    ,

11    Jamey Heath
      ,
12
      Steve Sarowitz
13    ,
14    Melissa Nathan
      ,
15
      The Agency Group PR LLC
16
      ,
17
      Jennifer Abel
18    ,

19    RWA Communications LLC
      ,
20
      Jed Wallace
21    ,

22    Street Relations Inc.
      ,
23
                                      Respondents
24
25
26                                                   -1-
                                     Complaint – CRD No.
27
     Date Filed: December 20, 2024
28
                                                                        CRD-ENF 80 RS (Revised 2024/05)
           Case 1:25-cv-00163-DAE           Document 21-1        Filed 04/25/25     Page 6 of 7




 1
     1. Respondent Wayfarer Studios LLC is an employer subject to suit under the California Fair
 2   Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

 3   2.Complainant is naming Justin Baldoni individual as Co-Respondent(s).
     Complainant is naming Jamey Heath individual as Co-Respondent(s).
 4   Complainant is naming Steve Sarowitz individual as Co-Respondent(s).
     Complainant is naming Melissa Nathan individual as Co-Respondent(s).
 5   Complainant is naming The Agency Group PR LLC business as Co-Respondent(s).
 6   Complainant is naming Jennifer Abel individual as Co-Respondent(s).
     Complainant is naming RWA Communications LLC business as Co-Respondent(s).
 7   Complainant is naming Jed Wallace individual as Co-Respondent(s).
     Complainant is naming Street Relations Inc. business as Co-Respondent(s).
 8
     3. Complainant Blake Lively, resides in the City of , State of .
 9
10 4. Complainant alleges that on or about December 20, 2024, respondent took the
   following adverse actions:
11
     Complainant was harassed because of complainant's sex/gender, sexual harassment-
12 hostile environment.
13 Complainant experienced retaliation because complainant reported or resisted any form
14 of discrimination or harassment and as a result was other adverse action(s).
15
     Additional Complaint Details: Complainant Blake Lively alleges that Respondents
16   Wayfarer Studios LLC, Justin Baldoni, Jamey Heath, Steve Sarowitz, Melissa Nathan, the
     Agency Group PR LLC, Jennifer Abel, RWA Communications LLC, Jed Wallace, and/or
17   Street Relations Inc. engaged in a variety of conduct in violation of California Government
     Code section 12940 (the "FEHA") and Title VII of the Civil Rights Act of 1964 (“Title VII”).
18   The conduct includes: sexual harassment; retaliation; failure to investigate, prevent, and/or
     remedy harassment; and aiding and abetting harassment and retaliation. Please see
19   attached complaint for specific details.

20
21
22
23
24
25
26                                                   -2-
                                     Complaint – CRD No.
27
     Date Filed: December 20, 2024
28
                                                                            CRD-ENF 80 RS (Revised 2024/05)
           Case 1:25-cv-00163-DAE           Document 21-1   Filed 04/25/25    Page 7 of 7




 1 VERIFICATION
 2 I, Esra Hudson, am the Attorney in the above-entitled complaint. I have read the
   foregoing complaint and know the contents thereof. The matters alleged are based
 3
   on information and belief, which I believe to be true.
 4
   On December 20, 2024, I declare under penalty of perjury under the laws of the State
 5 of California that the foregoing is true and correct.
 6                                                                       Los Angeles, CA
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26                                                   -3-
                                     Complaint – CRD No.
27
     Date Filed: December 20, 2024
28
                                                                      CRD-ENF 80 RS (Revised 2024/05)
